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                            EXHIBIT 17
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                                                             Exhibit No. 17
                    Infringement Claim Chart of U.S. Patent No. 8,665,527 by Optotune and Edmund Optics1
         Accused products including Optotune’s liquid focus tunable lenses based on manual actuation (including ML-20-37) and
Edmund Optics’ liquid lens products that integrate Optotune’s manually actuated liquid focus tunable lenses (including Optotune
Focus Tunable Lens) (the “Accused Products”) infringe each element of the Asserted Claims of U.S. Patent No. 8,665,527 (the “’527
Patent”). Further, Optotune AG and Edmund Optics instruct their customers regarding the use of the Accused Products to enable the
use of the features identified throughout this chart. Optotune AG and Edmund Optics intend and instruct that their customers use these
features in a manner that practices each element of the Asserted Claims. Plaintiff contends each of the following limitations is met
literally, and, to the extent a limitation is not met literally, it is met under the doctrine of equivalents.




1
 This claim chart is based on the information currently available to Plaintiff and is intended to be exemplary in nature. Plaintiff
reserves all rights to update and elaborate their infringement positions, including as Plaintiff obtains additional information during the
course of discovery.
                                                                    1
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           Claim                                                   Accused Products
[1Pre] A fluidic lens,    The Accused Products meet this limitation.
comprising:
                          The Optotune ML-20-37 includes a fluidic a fluidic lens (i.e. manually tunable lens ML-20-37 with
                          optical fluid).




                          Optotune ML-20-37-Series Spec Sheet at 1.




                                                           2
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           Optotune Focus tunable lenses at 1.




           Optotune focus-tunable lenses for machine vision at 3.

                                                 3
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[1A] a reservoir at least      The Accused Products meet this limitation.
partially bounded by a first
optical surface and a          The Optotune ML-20-37 includes a reservoir at least partially bounded by a first optical surface (i.e.,
second optical surface;        membrane) and a second optical surface (i.e., cover glass).




                               Optotune ML-20-37-Series Spec Sheet at 4.




                                                                  4
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           Optotune focus-tunable lenses for machine vision at 3.




           Focus Tunable Lenses for LED Lighting by Optotune AG at 2-3.
                                              5
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[1B] a fluid; wherein the     The Accused Products meet this limitation.
fluid fills a volume of the
reservoir;                    The Optotune ML-20-37 includes a fluid (also referred to as adaptive lens material) that fills a volume
                              of the reservoir.




                              Optotune ML-20-37-Series Spec Sheet at 4.




                                                                 6
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           Optotune focus-tunable lenses for machine vision at 3.




           Focus Tunable Lenses for LED Lighting by Optotune AG at 2-3.


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[1C] a rim configured to   The Accused Products meet this limitation.
contact a portion of the
first or second optical    The Optotune ML-20-37 includes a lens shaper (i.e., rim) configured to contact the outer portion of the
surface from outside the   membrane (i.e., first optical surface) from outside the reservoir.
reservoir; and




                                                              8
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            Focus Tunable Lenses for LED Lighting by Optotune AG at 2-3.




            Optotune focus tunable lenses and laser speckle reduction based on electroactive polymers at 3.




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                              Optotune focus-tunable lenses for machine vision at 3.

[1D] a passive retainer       The Accused Products meet this limitation.
configured to retain one or
more of the reservoir or      The Optotune ML-20-37 includes a passing retainer configured to retain the reservoir and the fluidic
fluidic lens,                 lens.




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                               Optotune ML-20-37-Series Spec Sheet at 4.

[1E] wherein one or more       The Accused Products meet this limitation.
of the first optical surface
or second optical surface is   The Optotune ML-20-37 includes a rotatable outer ring configured to apply an actuation force via the
configured to deform as a      lens shaper at the outer portion of the membrane (i.e., first optical surface). The actuation force (i.e.,
result of a change in a        change in contact between the rim and the first optical surface) changes the pressure in the reservoir that
pressure applied to the        contains the optical fluid, thereby resulting in a deformation at the central portion of the membrane (i.e.,
fluid or a change in contact   first optical surface).
between the rim and the
first or second optical
surface.




                                                                   11
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            Optotune ML-20-37-Series Spec Sheet at 1.




            Optotune Focus tunable lenses at 1.




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            Optotune focus-tunable lenses for machine vision at 3.




            Optotune focus tunable lenses and laser speckle reduction based on electroactive polymers at 3.




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                               Tomorrow’s Next Big Thing in Photography: Faster, Lighter, More Compact — Focus Tunable Lenses
                               Copy the Principle of the Eye at 1.

[33Pre] A fluidic lens,        The Accused Products meet this limitation. See Claim 1Pre supra.
comprising:

[33A] a reservoir at least     The Accused Products meet this limitation. See Claim 1A supra.
partially bounded by a first
optical surface and a
second optical surface;
[33B] a fluid; wherein the     The Accused Products meet this limitation. See Claim 1B supra.
fluid fills a volume of the
reservoir;
[33C] a rim configured to      The Accused Products meet this limitation. See Claim 1C supra.
contact a portion of the
first or second optical
surface from outside the
reservoir,
[33D] wherein one or more      The Accused Products meet this limitation. See Claim 1E supra.
of the first optical surface
or second optical surface is
configured to deform as a
result of a change in a
pressure applied to the
fluid or a change in contact

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between the rim and the
first or second optical
surface; and
[33E] further comprising a    The Accused Products meet this limitation.
rotatable member; wherein
said rotatable member is      The Optotune ML-20-37 includes a rotatable outer ring configured to apply an actuation force via the
configured to translate the   lens shaper at the outer portion of the membrane (i.e., first optical surface), i.e., configured to translate
reservoir with respect to     the reservoir with respect to the rim or the rim with respect to the reservoir.
the rim and/or the rim with
respect to the reservoir.




                              Optotune ML-20-37-Series Spec Sheet at 1.




                                                                  15
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            Optotune Focus tunable lenses at 1.




            Optotune focus-tunable lenses for machine vision at 3.


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                               Optotune focus tunable lenses and laser speckle reduction based on electroactive polymers at 3.




                               Tomorrow’s Next Big Thing in Photography: Faster, Lighter, More Compact — Focus Tunable Lenses
                               Copy the Principle of the Eye at 1.

[34Pre] A fluidic lens,        The Accused Products meet this limitation. See Claim 1Pre supra.
comprising:

[34A] a reservoir at least     The Accused Products meet this limitation. See Claim 1A supra.
partially bounded by a first
optical surface and a
second optical surface;




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[34B] a fluid, wherein the    The Accused Products meet this limitation. See Claim 1B supra.
fluid fills a volume of the
reservoir,
[34C] wherein one or more     The Accused Products meet this limitation.
of the first or second
optical surface is made of    As shown in the figure below, the top cover glass in Optotune ML-20-37 has a thickness of about 1 mm
glass between about 0.7       (i.e., 12.55 minus 11.55). The thickness of the second optical surface (i.e., the bottom cover glass) is
mm and about 0.2 mm in        about half of the top cover glass, i.e., about 0.5 mm.
thickness; and




                              Optotune ML-20-37-Series Spec Sheet at 4.

[34D] a rim configured to     The Accused Products meet this limitation. See Claim 1C supra.
contact a portion of the
first or second optical


                                                                 18
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surface from outside the
reservoir,

[34E] wherein one or more      The Accused Products meet this limitation. See Claim 1E supra.
of the first optical surface
or second optical surface is
configured to deform as a
result of a change in a
pressure applied to the
fluid or a change in contact
between the rim and the
first or second optical
surface.




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